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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF KENTUCKY
                                   SOUTHERN DIVISION
                                         LONDON

  AMY JACKSON-BOLINGER, et al.,                     )
                                                    )
        Plaintiffs,                                 )              No. 6:19-CV-152-REW
  v.                                                )
                                                    )
  AMERICORE HEALTH, LLC, et al.,                    )                      ORDER
                                                    )
        Defendants.                                 )

                                         *** *** *** ***

        Defendants Americore Health Enterprises, LLC, and Americore Health, LLC, advise that

 they (as well as certain affiliates and subsidiaries) have filed for bankruptcy and represent that this

 matter is subject to the automatic bankruptcy stay. DE 44. The Defendants’ December 31, 2019,

 petitions now “operate[] as a stay on the ‘continuation . . . of a judicial proceeding against the

 debtor.’” See Vogel v. U.S. Office Prods. Co., 258 F.3d 509, 513–14 (6th Cir. 2001) (quoting 11

 U.S.C. § 362(a)(1)). Accordingly, the Court STAYS this matter. The Court ORDERS the parties

 to file a joint status report within 90 days of this Order, and every 90 days thereafter, until the

 bankruptcy proceedings conclude. Further, the parties SHALL notify the Court within 14 days of

 the bankruptcy matter’s conclusion

        This the 9th day of January, 2020.




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